June 21, 2018

The Travelers Companies
Business Property Insurance, Major Case Unit
One Tower Square MS06-A
Hartford, Connecticut 06183

Attention:      Mr. Paul J. Sutherland, CPU, CHFC
                pjsuther@travelers.com

Reference:      Industrial Hygiene Evaluation Report
                Rocky Waters Motor Inn
                333 Parkway
                Gatlinburg, Tennessee 37738
                S&ME Project No. 4143-18-029 P001


Dear Mr. Sutherland:


S&ME, Inc. (S&ME) is pleased to present this report of our industrial hygiene evaluation of the Rocky Waters
Motor Inn located at 333 Parkway in Gatlinburg, Tennessee. This work was performed in general accordance with
S&ME proposal No. XX-XXXXXXX, dated May 14, 2018 and our Agreement for Services AS-071.


 Project Information
Based on the May 10, 2018 telephone conversation between yourself and Eric Solt of S&ME and an email from
you to Eric Solt on the same day, S&ME was requested to provide Travelers with industrial hygiene consulting
services to support their review of a smoke damage claim for the referenced hotel. This hotel has filed a claim for
smoke damage caused by wild fires in Gatlinburg in November, 2016.

As part of the industrial hygiene evaluation, Mr. Sherman Woodson, a Certified Industrial Hygienist, has reviewed
the previous sampling report for the referenced hotel. Air sampling was performed at the hotel in January 2018
by Forensic Building Science, Inc. The laboratory analysis of the samples was performed by N.G. Carlson
Analytical, Inc. S&ME also visited the hotel on May 22, 2018 and observed representative rooms to identify the
current conditions that may be related to smoke damage.

This report includes our comments and opinions of the previous sampling report and our observations and
opinions of the current conditions.




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 Review of Previous Air Sampling Reports
The January 22, 2018 report from Forensic Building Science is included in Attachment I. A total of thirteen (13) air
samples and six (6) surface samples were collected in representative rooms in the hotel on January 4 and 5, 2018.
The air samples were collected using Air-O-Cell cassettes and an air sampling pump. The surface samples were
collected by pressing tape to the surface. Each of the air and surface samples were observed under light
microscopy at 400X magnification. Particulates identified as either char or soot were counted and the results
quantified in ranges. The ranges are correlated for the ranges of particles as “negligible impact of smoke,”
“limited impact,” “moderate impact,” “significant impact,” and “major impact.”

The majority of air samples had char and soot particle counts in the ranges correlated to “negligible” or “limited”
with regards to “smoke impact.” Three locations (Room 131, attic space above Rooms 101 and 102, and attic
space above Rooms 116 – 119) had char particle counts in the low end of “significant” range and one location
(Room 105) with a char particle count in the “moderate” range. The two samples collected in the attic space are
noted to be “ambient” air.

Likewise, the majority of tape samples had char and soot particle counts in the ranges correlated to “negligible” or
“limited” with regards to smoke impact. Two locations (Rooms 102 and 131) had a char and soot particle counts
in the “significant” category. It should be noted that these samples were collected from the wood burning fire
places in these rooms.

S&ME also noted the following with regards to the report: 1) based on a review of the website, it does not appear
that N.G. Carlson Analytical is an accredited laboratory, 2) there is no reference to the particle count classifications
included in the report 3) it appears that the particle counts are average counts per field (not explicitly stated in the
table). Therefore, the concentrations of the room samples and ambient samples cannot be compared as different
air volumes were sampled, and 4) the ambient locations are described as “attic space.” These spaces may be an
unconditioned and unoccupied but still seem like potential indoor spaces with the same potential smoke impact
as the indoor rooms. We would have preferred to have outdoor samples for comparison to the indoor samples.


 Observations By S&ME On May 22, 2018
S&ME performed a walk-through of representative rooms of the Rocky Waters Motor Inn on May 22, 2018. In
addition to S&ME, Mr. Paul Sutherland (The Travelers Companies) and Mr. Wes Bolick (Young and Associates)
participated in the walk-through of the rooms.

Rooms selected to observe were either unoccupied at the time of our site visit (keys for available rooms were
provided by hotel management) or were open and occupied by cleaning staff. S&ME observed a total of seven (7)
rooms and the electrical room at the Rocky Waters Motor Inn. In addition to the interior of the rooms, S&ME
observed the exterior of the rooms including balconies. Accessible common areas on the interior and exterior
were also observed during our site visit.

The rooms observed at the Rocky Waters Motor Inn did not appear to have been renovated since the 2016 wild
fires. Each of the rooms had similar construction including textured paint on drywall walls and ceiling and
carpeted floors.

S&ME did not observe visible signs (soot or staining) or odors (smoke odor) to indicate fire damage.


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 Conclusions and Opinions
As noted in the sample results, the majority of air and tape samples have particle counts in the “negligible” or
“limited” range and the samples with particle counts in higher concentration ranges appear to be in rooms noted
as “ambient” sample locations. Therefore, S&ME’s opinion is that the sample results do not indicate that smoke
damage related to the 2016 wild fires is present in the rooms. This opinion was confirmed by the lack of visible
signs or odors related to smoke damage noted during our walk-through observations on May 22, 2018.


 Closing
S&ME appreciates the opportunity to provide our industrial hygiene services. If you have any questions or need
additional assistance, please do not hesitate to call us at (865) 977-0003.

Sincerely,


S&ME, Inc.



Eric M. Solt                                            Sherman Woodson, CIH, CSP
Senior Project Manager                                  Senior Industrial Hygienist




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            Attachment I – Forensic Building Science Report




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